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          IN THE UNITED STATES DISTRICT COURT R
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          FOR THE MIDDLE DISTRICT OF ALABAMA
                   NORTHERN DIVISION            1OI8 APR 25 P 1: 18
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 LATONGA DIXON,                                         OfSTRiCT COC/Tr"
                                             l'itOuLE TRICT        't-11 A
    PLAINTIFF,

 VS.                                          CV NO.:

 VICTORIA'S SECRET STORES,
                                                      b-CE-Lae-SRAAJ
 LLC,
     DEFENDANT.                               JURY TRIAL DEMANDED

                                    COMPLAINT


   I. JURISDICTION

        1.   1. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§

1331, 1343(4), 28 U.S.C. §§ 2201 and 2202, 42 U.S.C. § 2000e et seq. This suit is

authorized and instituted pursuant to Title VII of the Act of Congress known as the

"Civil Rights Act of 1964," as amended, the "Civil Rights Act of 1991," 42 U.S.C.

§ 2000e, et seq. (Title VII). The jurisdiction of this Court is invoked to secure

protection of and to redress deprivation of rights secured by Title VII providing for

injunctive and other relief against sexual harassment and retaliation.

       2.    Plaintiff timely filed a charge of discrimination with the Equal

Employment Opportunity Commission (EEOC) within 180 days of the last

discriminatory act(Exhibit A). Plaintiff further filed this lawsuit within ninety(90)

days after receipt of the right-to-sue letter issued by the EEOC (Exhibit B).

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  II. PARTIES

      3.     Plaintiff, Latonga Dixon (hereinafter "Plaintiff'), is a resident of

Montgomery, Montgomery County, Alabama, and performed work for the

Defendant in the counties composing the Middle District of Alabama during the

events ofthis case. Thus, pursuant to 28 U.S.C. § 1391(b), venue for this action lies

in the Middle District of Alabama, Northern Division.

      4.     Defendant, Victoria's Secret Stores, LLC (hereinafter "Defendant"), is

a company registered and doing business in the State of Alabama and has sufficient

minimum contacts with the State of Alabama that it is subject to service of process

in Alabama. Defendant is an entity subject to suit under 42 U.S.C. § 2000e, et seq.

Defendant employed at least fifteen (15) persons during the current or preceding

calendar year. Therefore, this Court has personal jurisdiction over Defendant.

 III. STATEMENT OF FACTS

      5.    Plaintiff hereby incorporates by reference each of the allegations

contained in paragraphs 1-4 above.

      6.    Plaintiff is a woman of African ancestry.

      7.    Defendant hired Plaintiff on March 13, 2017.

      8.    Defendant hired Plaintiff for the position of Store Manager.

      9.    Defendant employed Nechele Vickers.

      10.   Nechele Vickers is a woman of European ancestry.



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      11.    Defendant employed Nechele Vickers in the position of Merchandising

Manager.

      12.    On or about October 19, 2017, Plaintiff reported to Defendant that

Vickers had harassed her.

      13.    Vickers made inappropriate and vulgar comments to Plaintiff and also

threw things at her.

      14.    Defendant employed Christina l3ryant.

      15.    Defendant employed Christina Bryant in the position of District

Manager:

      16.    Plaintiff reported Vickers' continued inappropriate conduct to District

Manager, Christina Bryant.

      17.    Plaintiff and Bryant met to discuss Vickers' conduct.

      18.    Bryant told Plaintiff that she could not "pick on" Vickers because she

was the only person of European ancestry that worked in the store and that the store

needed Vickers there for diversity purposes.

      19.    Plaintiff responded to Bryant by telling her that she was not picking on

Vickers.

      20.    Plaintiff told Bryant that the rules needed to be applied fairly regardless

of race, and that Vickers should be required to follow the rules.

      21.    Bryant neither investigated Vickers' behavior nor disciplined her.



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      22.    A few weeks after Plaintiff reported Vickers' misconduct and was told

that Vickers would not be disciplined, Bryant issued Plaintiff a write up.

      23.    Prior to Plaintiffs complaint about Vickers, she had not received any

verbal or written disciplinary action.

      24.    Prior to Plaintiffs complaint about Vickers, she had consistently been

one ofthe highest performing managers in her district.

      25.    Defendant's district's sales numbers show that Plaintiff was one of thp

top producing managers in the district.

      26.    A few weeks after reporting Vickers' behavior, Bryant wrote Plaintiff

up for a signage problem that occurred during a store visit.

      27.    Bryant immediately placed Plaintiff on probation instead of following

Defendant's usual procedure of engaging in progressive discipline.

      28.    Other managers, who have not reported sexually harassing conduct,

were not placed on probation for their first signage problem.

      29.    Other managers, who are not of African ancestry, are allowed to

discipline employees who are of European ancestry.

      30.    Plaintiff continued to report Vickers' sexually harassing behavior to

Bryant, to no avail.




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       31.      Vickers' conduct included humping Plaintiffs body and inappropriate

verbal comments in which she came up behind Plaintiff, smacked her buttocks, and,

said,"Wow, your pussy is really fat."

       32.      On December 15, 2017, Plaintiff called the employee hotline to report

Vickers' misconduct to Defendant's Human Resources Department.

       33.      On or about December 22, 2017, Defendant initiated an investigation

at the store.

      34.       During the investigation, Plaintiff told District Manager, Christina

Bryant, that she believed her response to her complaints about Vickers was racially

discriminatory.

      35.       On December 26, 2017, Plaintiff filed a charge of Discrimination with

the EEOC (charge #: 420-2018-00774).

      36.       During Defendant's investigation, Plaintiffs claims of sexually

inappropriate conduct and comments on the part of Vickers were substantiated.

      37.       On January 9, 2018, Defendant terminated Plaintiffs employment

citing Bryant's previous retaliatory write up.

 IV. COUNT ONE— SEXUAL HARASSMENT — Termination

      38.       Plaintiff hereby incorporates by reference each of the allegations

contained in paragraphs 1 through 37 above.




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      39.    Defendant hired Plaintiff on March 13, 2017 to work in the position of

Store Manager.

      40.    Defendant employed Nechele Vickers in the position of Merchandising

Manager.

      41.    On or about October 19, 2017, Plaintiff reported to Defendant that

Vickers had sexually harassed her.

      42.    Vickers made inappropriate and vulgar comments to Plaintiff and also

threw things at her.

      43.    Defendant employed Christina Bryant in the position of District

Manager.

      44.    Plaintiff reported Vickers' continued inappropriate conduct to Bryant.

      45.    Plaintiff and Bryant met to discuss Vickers conduct.

      46.    Bryant told Plaintiff that she could not "pick on" Vickers because she

was the only person of European ancestry that worked in the store and that the store

needed Vickers there for diversity purposes.

      47.    Plaintiffresponded to Bryant by telling her that she was not picking on

Vickers.

      48.    Bryant neither investigated Vickers' behavior nor disciplined her.

      49.    A few weeks after reporting Vickers' behavior, Bryant wrote Plaintiff

up for a signage problem that occurred during a store visit.
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       50.      Bryant immediately placed Plaintiff on probation instead of following

Defendant's usual procedure of engaging in progressive discipline.

       51.      Other managers, who have not reported sexually harassing conduct,

were not placed on probation for their first signage problem.

       52.      Plaintiff continued to report Vickers' sexually harassing behavior to

Bryant, to no avail.

       53.      Vickers' conduct included humping Plaintiffs body and inappropriate

verbal comments in which she came up behind Plaintiff, smacked her buttocks and

said,"Wow, your pussy is really fat."

       54.      On December 15, 2017, Plaintiff called the employee hotline to report

Vickers' misconduct to Defendant's Human Resources Department.

       55.      On or about December 22, 2017, Defendant initiated an investigation

at the store.

       56.      During Defendant's investigation, Plaintiffs claims of sexually

inappropriate conduct and comments on the part of Vickers were substantiated.

      57.       In violation of Title VII, Defendant terminated Plaintiffs employment

for signage issues but did not terminate the employment of employees that did not

report sexual harassment and had signage issues.

      58.       As a result of Defendant's violation of Title VII, Plaintiff has been

damaged, suffering loss of pay, benefits, and mental anguish.



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  V. COUNT TWO — RETALIATION — Title VII — Termination

      59.    Plaintiff hereby incorporates by reference each of the allegations

contained in paragraphs 1 through 58 above.

      60.    Defendant hired Plaintiff on March 13, 2017.

      61.    Defendant hired Plaintiff for the position of Store Manager.

      62.    Defendant employed Nechele Vickers.

      63.    Defendant employed Nechele Vickers in the position of Merchandising

Manager.

      64.    On or about October 19, 2017, Plaintiff reported to Defendant that

Vickers had harassed her.

      65.    Vickers made inappropriate and vulgar comments to Plaintiff and also

threw things at her.

      66.    Defendant employed Christina Bryant.

      67.    Defendant employed Christina Bryant in the position of District

Manager.

      68.   Plaintiff reported Vickers' continued inappropriate conduct to

Christina Bryant.

      69.   Plaintiff and Bryant met to discuss Vickers' conduct.




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      70.    Bryant told Plaintiff that she could not "pick on" Vickers because she

was the only person of European ancestry that worked in the store and that the store

needed Vickers there for diversity purposes.

      71.    Plaintiff responded to Bryant by telling her that she was not picking on

Vickers.

      72.    Plaintifftold Bryant that the rules needed to be applied fairly regardless

of race, and that Vickers should be required to follow the rules.

      73.    Bryant neither investigated Vickers' sexually harassing behavior nor

disciplined her.

      74.    A few weeks after Plaintiff reported Vickers' sexually harassing

misconduct and was told that she would not be disciplined, Bryant issued Plaintiff a

write up.

      75.    Prior to Plaintiffs complaint about Vickers, she had not received any

verbal or written disciplinary action.

      76.    Prior to Plaintiffs complaint about Vickers, she had consistently been

one of the highest performing managers her district.

      77.    Defendant's district's sales nurnbers show that Plaintiff was one of the

top producing managers in the district.

      78.    A few weeks after reporting Vickers' behavior, Bryant wrote Plaintiff

up for a signage problem that occurred during a store visit.



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       79.      Bryant immediately placed Plaintiff on probation instead of following

Defendant's usual procedure of engaging in progressive discipline.

       80.      Other managers, who have not reported sexually harassing conduct

were not placed on probation for their first signage problem.

       81.      Plaintiff continued to report Vickers' sexually harassing behavior to

Bryant, to no avail.

       82.      Vickers' conduct included humping Plaintiffs body and inappropriate

verbal comments in which she came up behind Plaintiff, smacked her buttocks and

said,"Wow, your pussy is really fat."

       83.      On December 15, 2017, Plaintiff called the employee hotline to report

Vickers' misconduct to Defendant's Human Resources Department.

       84.      On or about December 22, 2017, Defendant initiated an investigation

at the store.

      85.       During the investigation, Plaintiff told Christina Bryant, that she

believed her response to her complaints about Vickers were racially discriminatory.

      86.       On December 26, 2017, Plaintiff filed a charge of Discrimination with

the EEOC (charge #: 420-2018-00774).

      87.       During Defendant's investigation, Plaintiffs claims of sexually

inappropriate conduct and comments on the part of Vickers were substantiated.




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      88.    On January 9, 2018, Defendant terminated Plaintiffs employment

citing Bryant's previous retaliatory write up.

      89.    Defendant discriminated against Plaintiff by terminating her because of

her report of sexual harassment.

      90.    Defendant retaliated against Plaintiff by terminating her because of her

report of sexual harassment.

      91.    As a result of Defendant's violation of the anti-retaliatory protected

activity encompassed by Title VII, Plaintiff has been damaged, suffering loss of pay

and benefits.

      92.    Because of Plaintiffs previous complaints of sexual harassment

committed in violation of Title VII, Plaintiff has been damaged, suffering loss of

pay, benefits, and mental anguish.

 VI. PRAYER FOR RELIEF

      WHEREFORE,Plaintiff respectfully prays for the following relief:

      A.     Grant Plaintiff a permanent injunction enjoining the Defendant, its

agents, successors, employees, attorneys and those acting in concert with the

Defendant and at the Defendant's request from continuing to violate the terms ofthe

Title VII ofthe Civil Rights Act of 1964;




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      B.      Enter an Order requiring the Defendant to make Plaintiff whole by

awarding reinstatement to the position she would have had, had she not been

terminated;

      C.      Award her back pay, together with employment benefits, front pay,

compensatory damages, punitive damages; special damages; nominal darnages;

      D.      Attorneys' fees and costs;

      E.      Plaintiffrequests that the Court award Plaintiff equitable relief pursuant

to 28 U.S.C. § 2201 and 29 U.S.C. § 626 that the actions of Defendant violated the

law; and,

      F.      Any different or additional relief as may be determined by the Court to

which Plaintiff is entitled.



                                             Kir Fontene



                                             Allen D. Arnold

OF COUNSEL:

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              PLAINTIFF REQUESTS TRIAL BY STRUCK JURY



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                                                OF COUNSEL

DEFENDANT'S ADDRESS:
Victoria's Secret Stores, LLC
c/o CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, Alabama 36104




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